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                                         ORDERED.

         Dated: May 29, 2019




                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                         Case No.: 8:18-bk-02807-RCT
                                                               Chapter 7
Mark Alan Piburn
Judith Ann Piburn

                 DEBTOR                        /

                 ORDER GRANTING MOTION TO VACATE
      ORDER APPROVING APPLICATION TO EMPLOY/RETAIN BK GLOBAL
  REAL ESTATE SERVICES AND TANJA CISLIEK OF FUTURE HOME REALTY, INC.

          This matter came before the Court, upon the Chapter 7 Trustee’s Motion to Vacate Order
Approving Application to Employ/Retain Bk Global Real Estate Services and Tanja Cisliek of
Future Home Realty, Inc (the “Motion”, Dkt. No. 36) wherein the Trustee requests that the Court
vacate an order wherein the real estate professional sought be employed was erroneously
described, and was not consistent with the application for employment. The Court, having
reviewed the record, finds the error to be as described by the Trustee in his Motion, and that
vacating the problematic order to be appropriate. Accordingly, it is:
          ORDERED
          1. The Order Approving Application to Employ/Retain Bk Global Real Estate Services
             and Tanja Cisliek of Future Home Realty, Inc., entered on July 31, 2019 at Dkt. No.
             24, is hereby VACATED.
          2. The Trustee shall have three (3) days to submit an order addressing his Application to
             Retain BK Global Real Estate Services & Keller Williams Realty as Listing Agent,
             filed on July 27, 2018 at Dkt. No. 23, for the Court’s further consideration.
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Attorney, Richard M. Dauval, Esq. is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.
